                  IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


KEITH E. L.,                            )
                                        )
                   Plaintiff,           )
                                        )
      v.                                )         1:23CV1066
                                        )
CAROLYN W. COLVIN,                      )
Acting Commissioner of Social           )
Security,                               )
                                        )
                   Defendant.1          )


                        MEMORANDUM OPINION AND ORDER
                     OF UNITED STATES MAGISTRATE JUDGE

      Plaintiff, Keith E. L., brought this action pursuant to the

Social Security Act (the “Act”) to obtain judicial review of a

final decision of Defendant, the Acting Commissioner of Social

Security    (the     “Commissioner”),       denying   Plaintiff’s       claim      for

Disability Insurance Benefits (“DIB”).                (Docket Entry 2.)            The

Commissioner has filed the certified administrative record (Docket

Entry   6   (cited    herein   as   “Tr.    __”)),    and   both    parties       have

submitted dispositive briefs in accordance with Rule 5 of the

Supplemental Rules for Social Security Actions under 42 U.S.C.

§ 405(g) (Docket Entry 9 (Plaintiff’s Brief); Docket Entry 11

(Commissioner’s Brief); Docket Entry 12 (Plaintiff’s Reply)).                      For



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        Carolyn W. Colvin became the Acting Commissioner of Social Security on
November 30, 2024.    Pursuant to Rule 25(d) of the Federal Rules of Civil
Procedure, Carolyn W. Colvin should substitute for Martin J. O’Malley as the
defendant in this suit. No further action need be taken to continue this suit
by reason of the last sentence of Section 205(g) of the Social Security Act, 42
U.S.C. § 405(g).




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the reasons that follow, the Court will enter judgment for the

Commissioner.2

                           I.   PROCEDURAL HISTORY

       Plaintiff applied for DIB (Tr. 213-19), alleging a disability

onset date of October 19, 2019 (see Tr. 213, 216).3              Upon denial of

that       application   initially     (Tr.     97-106,     127-31)      and    on

reconsideration (Tr. 107-21, 133-37), Plaintiff requested a hearing

de novo before an Administrative Law Judge (“ALJ”) (Tr. 138-39).

Plaintiff, his attorney, and a vocational expert (“VE”) attended

the hearing.        (Tr. 34-74.)       The ALJ subsequently ruled that

Plaintiff did not qualify as disabled under the Act.                 (Tr. 7-26.)

The Appeals Council thereafter denied Plaintiff’s request for

review (Tr. 1-6, 211-12, 297-300), thereby making the ALJ’s ruling

the Commissioner’s final decision for purposes of judicial review.

       In    rendering   that   decision,     the   ALJ   made   the   following

findings later adopted by the Commissioner:

       1.   [Plaintiff] last met the insured status requirements
       of the . . . Act on December 31, 2022.

       2.   [Plaintiff] did not engage in substantial gainful
       activity during the period from his alleged onset date of


       2
        On consent of the parties, “this case [wa]s referred to the [undersigned]
United States Magistrate Judge . . . to conduct all proceedings . . ., to order
the entry of judgment, and to conduct all post-judgment proceedings []herein.”
(Docket Entry 10 at 1.)
       3
        Plaintiff later amended his onset date to March 20, 2021 (see Tr. 38,
228), but the ALJ adjudicated the period from the original alleged onset date of
October 19, 2019, to Plaintiff’s date last insured for DIB, December 31, 2022
(see Tr. 13, 22). Thus, the undersigned will also consider the entire period
from October 19, 2019, to December 31, 2022, on judicial review.

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October 19, 2019, through his date last insured of
December 31, 2022.

3.   Through the date last insured, [Plaintiff] had the
following severe impairments: transient ischemic attack
(TIA), neuropathy, degenerative joint disease of the
bilateral hips, degenerative joint disease of the left
knee, degenerative joint disease of the left shoulder,
obesity, bi-polar disorder, anxiety, and depression.

. . .

4.   Through the date last insured, [Plaintiff] d[id] not
have an impairment or combination of impairments that met
or medically equaled the severity of one of the listed
impairments in 20 CFR Part 404, Subpart P, Appendix 1.

. . .

5.   . . . [T]hrough the date last insured, [Plaintiff]
had the residual functional capacity to perform light
work . . . except [he] can perform occasional climbing of
ramps and stairs; no climbing of ladders[,] ropes or
scaffolds; occasional balancing and stooping; and no
kneeling, crouching, or crawling.      [Plaintiff] should
avoid concentrated exposure to fumes, odors, dusts,
gases, poor ventilation, dangerous machinery, and
heights. [Plaintiff] is limited to occupations requiring
no more than simple[,] routine[, and] repetitive task[s]
[(“SRRTs”)], not performed in a fast-paced production
environment,    involving   only    simple   work-related
instructions and decisions and relatively few workplace
changes. [Plaintiff] is further limited to occupations
requiring no more than occasional interaction with co-
workers and members of the general public. [Plaintiff]
will be able to maintain concentration[,] persistence and
pace for 2-hour increments.

. . .

6.   Through the date last insured, [Plaintiff]                was
unable to perform any past relevant work.

. . .

10. Through   the  date  last  insured, considering
[Plaintiff]’s age, education, work experience, and
residual functional capacity, there were jobs that

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       existed in significant numbers in the national economy
       that [Plaintiff] could have performed.

       . . .

       11. [Plaintiff] was not under a disability, as defined
       in the . . . Act, at any time from October 19, 2019, the
       alleged onset date, through December 31, 2022, the date
       last insured.

(Tr.    13-22    (bold   font     and    internal    parenthetical       citations

omitted).)

                                 II.    DISCUSSION

       Federal law “authorizes judicial review of the Social Security

Commissioner’s denial of social security benefits.”                      Hines v.

Barnhart, 453 F.3d 559, 561 (4th Cir. 2006).              However, “the scope

of . . . review of [such a] decision . . . is extremely limited.”

Frady v. Harris, 646 F.2d 143, 144 (4th Cir. 1981).                Plaintiff has

not established entitlement to relief under the extremely limited

review standard.

                          A.    Standard of Review

       “[C]ourts are not to try [a Social Security] case de novo.”

Oppenheim v. Finch, 495 F.2d 396, 397 (4th Cir. 1974).               Instead, “a

reviewing      court   must    uphold   the   factual   findings    of    the   ALJ

[underlying the denial of benefits] if they are supported by

substantial evidence and were reached through application of the

correct legal standard.” Hines, 453 F.3d at 561 (internal brackets

and quotation marks omitted).




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     “Substantial evidence means ‘such relevant evidence as a

reasonable mind might accept as adequate to support a conclusion.’”

Hunter v. Sullivan, 993 F.2d 31, 34 (4th Cir. 1992) (quoting

Richardson v. Perales, 402 U.S. 389, 390 (1971)).             “It consists of

more than a mere scintilla of evidence but may be somewhat less

than a preponderance.”       Mastro v. Apfel, 270 F.3d 171, 176 (4th

Cir. 2001) (internal brackets and quotation marks omitted).                  “If

there is evidence to justify a refusal to direct a verdict were the

case before a jury, then there is substantial evidence.”               Hunter,

993 F.2d at 34 (internal quotation marks omitted).

     “In reviewing for substantial evidence, the [C]ourt should not

undertake   to    re-weigh   conflicting     evidence,    make    credibility

determinations, or substitute its judgment for that of the [ALJ, as

adopted by the Commissioner].”      Mastro, 270 F.3d at 176 (internal

brackets and quotation marks omitted). “Where conflicting evidence

allows reasonable minds to differ as to whether a claimant is

disabled,   the   responsibility    for     that   decision    falls   on    the

[Commissioner] (or the ALJ).” Id. at 179 (internal quotation marks

omitted). “The issue before [the Court], therefore, is not whether

[the claimant] is disabled, but whether the ALJ’s finding that [the

claimant] is not disabled is supported by substantial evidence and

was reached based upon a correct application of the relevant law.”

Craig v. Chater, 76 F.3d 585, 589 (4th Cir. 1996).




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      When confronting that issue, the Court must take note that

“[a] claimant for disability benefits bears the burden of proving

a disability,” Hall v. Harris, 658 F.2d 260, 264 (4th Cir. 1981),

and that, in this context, “disability” means the “‘inability to

engage in       any    substantial         gainful    activity    by    reason   of    any

medically determinable physical or mental impairment which can be

expected to result in death or which has lasted or can be expected

to last for a continuous period of not less than 12 months,’” id.

(quoting       42     U.S.C.    §       423(d)(1)(A)).4         “To     regularize     the

adjudicative process, the Social Security Administration [(‘SSA’)]

has . . . promulgated . . . detailed regulations incorporating

longstanding medical-vocational evaluation policies that take into

account    a    claimant’s      age,       education,     and    work    experience    in

addition to [the claimant’s] medical condition.”                           Id.    “These

regulations         establish       a    ‘sequential      evaluation      process’     to

determine whether a claimant is disabled.” Id. (internal citations

omitted).

      This sequential evaluation process (“SEP”) has up to five

steps:     “The claimant (1) must not be engaged in ‘substantial

gainful activity,’ i.e., currently working; and (2) must have a

‘severe’ impairment that (3) meets or exceeds the ‘listings’ of


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        The Act “comprises two disability benefits programs.       [DIB] . . .
provides benefits to disabled persons who have contributed to the program while
employed. The Supplemental Security Income Program . . . provides benefits to
indigent disabled persons. The statutory definitions and the regulations . . .
for determining disability governing these two programs are, in all aspects
relevant here, substantively identical.” Craig, 76 F.3d at 589 n.1 (internal
citations omitted).

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specified impairments, or is otherwise incapacitating to the extent

that the claimant does not possess the residual functional capacity

[(‘RFC’)] to (4) perform [the claimant’s] past work or (5) any

other work.”       Albright v. Commissioner of Soc. Sec. Admin., 174

F.3d 473, 475 n.2 (4th Cir. 1999).5                A finding adverse to the

claimant at any of several points in the SEP forecloses an award

and ends the inquiry.         For example, “[t]he first step determines

whether the claimant is engaged in ‘substantial gainful activity.’

If the claimant is working, benefits are denied.                  The second step

determines    if   the   claimant   is       ‘severely’   disabled.       If     not,

benefits are denied.”      Bennett v. Sullivan, 917 F.2d 157, 159 (4th

Cir. 1990).

      On the other hand, if a claimant carries his or her burden at

each of the first three steps, “the claimant is disabled.” Mastro,

270 F.3d at 177.     Alternatively, if a claimant clears steps one and

two, but falters at step three, i.e., “[i]f a claimant’s impairment

is not sufficiently severe to equal or exceed a listed impairment,

the ALJ must assess the claimant’s [RFC].”             Id. at 179.6     Step four

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        “Through the fourth step, the burden of production and proof is on the
claimant.    If the claimant reaches step five, the burden shifts to the
[government] . . . .” Hunter, 993 F.2d at 35 (internal citations omitted).
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        “RFC is a measurement of the most a claimant can do despite [the
claimant’s] limitations.” Hines, 453 F.3d at 562 (noting that administrative
regulations require RFC to reflect claimant’s “ability to do sustained work-
related physical and mental activities in a work setting on a regular and
continuing basis . . . [which] means 8 hours a day, for 5 days a week, or an
equivalent work schedule” (internal emphasis and quotation marks omitted)). The
RFC includes both a “physical exertional or strength limitation” that assesses
the claimant’s “ability to do sedentary, light, medium, heavy, or very heavy
work,” as well as “nonexertional limitations (mental, sensory, or skin
impairments).” Hall, 658 F.2d at 265. “RFC is to be determined by the ALJ only

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then requires the ALJ to assess whether, based on that RFC, the

claimant can “perform past relevant              work”; if so, the claimant

does not qualify as disabled.             Id. at 179-80.          However, if the

claimant establishes an inability to return to prior work, the

analysis proceeds to the fifth step, whereupon the ALJ must decide

“whether the claimant is able to perform other work considering

both [the RFC] and [the claimant’s] vocational capabilities (age,

education, and past work experience) to adjust to a new job.”

Hall, 658 F.2d at 264-65.       If, at this step, the government cannot

carry its “evidentiary burden of proving that [the claimant]

remains able to work other jobs available in the community,” the

claimant qualifies as disabled.           Hines, 453 F.3d at 567.7

                         B.   Assignments of Error

      Plaintiff asserts that the Court should overturn the ALJ’s

finding of no disability on these grounds:

      1) “[t]he ALJ erred by failing to include in the ALJ’s

assessment    of    Plaintiff’s     RFC    the     ‘persuasive’       opinion     of

[consultative psychological examiner] J. Craig Hunt, Psy.D. that

Plaintiff ‘could have moderate to marked difficulty tolerating the


after [the ALJ] considers all relevant evidence of a claimant’s impairments and
any related symptoms (e.g., pain).” Hines, 453 F.3d at 562-63.
      7
        A claimant thus can qualify as disabled via two paths through the SEP.
The first path requires resolution of the questions at steps one, two, and three
in the claimant’s favor, whereas, on the second path, the claimant must prevail
at steps one, two, four, and five. Some short-hand judicial characterizations
of the SEP appear to gloss over the fact that an adverse finding against a
claimant on step three does not terminate the analysis. See, e.g., Hunter, 993
F.2d at 35 (“If the ALJ finds that a claimant has not satisfied any step of the
process, review does not proceed to the next step.”).

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stress associated with day-to-day work activity’” (Docket Entry 9

at 6 (bold font and block formatting omitted) (quoting Tr. 20 &

956); see also Docket Entry 12 at 1-3);

      2) “[t]he ALJ erred by citing Plaintiff’s performance of

[activities of daily living] as a reason to discount Plaintiff’s

impairment severity without accounting for countervailing evidence

regarding the nature and extent of the activities” (Docket Entry 9

at 12 (bold font and block formatting omitted); see also Docket

Entry 12 at 3-5); and

      3) “[t]he ALJ erred by failing to explain how Plaintiff’s

limited performance of [activities of daily living] demonstrates an

ability to perform full-time, competitive employment” (Docket Entry

9 at 18 (bold font and block formatting omitted); see also Docket

Entry 12 at 5-6).

      The Commissioner contends otherwise and seeks affirmance of

the ALJ’s decision.       (Docket Entry 11 at 3-18.)

                   1. Dr. Hunt’s Stress Tolerance Opinion

      In Plaintiff’s first issue on review, he argues that “[t]he

ALJ   erred   by    failing    to   include   in   the   ALJ’s   assessment     of

Plaintiff’s RFC the ‘persuasive’ opinion of [Dr.] Hunt[] that

Plaintiff ‘could have moderate to marked difficulty tolerating the

stress associated with day-to-day work activity.’”                (Docket Entry

9 at 6 (bold font and block formatting omitted) (quoting Tr. 20 &

956); see also Docket Entry 12 at 1-3.)            In that regard, Plaintiff


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deems it “reasonable to expect that an individual with ‘moderate to

marked difficulty tolerating the stress associated with day-to-day

work activity’ would be off task more than ten percent of the day

outside of standard breaks and/or would be absent from work, be

late to work, or depart early from work more than one time per

month” (Docket Entry 9 at 10 (quoting Tr. 956)), and notes that the

VE “testified[ that] employers would [not] tolerate” that degree of

off-task time or absence (id. (citing Tr. 72)).                       According to

Plaintiff,     the   Court’s   decision      in     Chalk    v.    Kijakazi[,      No.

1:20CV1174, 2021 WL 5014261 (M.D.N.C. Oct. 28, 2021) (unpublished),

recommendation adopted, 2021 WL 8322641 (M.D.N.C. Nov. 23, 2021)

(unpublished) (Eagles, J.)] supports remand” (id. (bold font and

underscoring omitted)) because “[t]he Court [in Chalk] found remand

required where the ALJ omitted from the RFC without explanation a

limitation from a medical opinion found ‘persuasive’” (id. at 11

(quoting Chalk, 2021 WL 5014261, at *5)).                   For the reasons that

follow, those arguments miss the mark.

      RFC measures the most a claimant can do despite any physical

and   mental   limitations.      Hines,      453     F.3d    at    562;   20   C.F.R.

§ 404.1545(a).       An ALJ must determine a claimant’s exertional and

non-exertional capacity only after considering all of a claimant’s

impairments, as well as any related symptoms, including pain.                      See

Hines, 453 F.3d at 562–63; 20 C.F.R. § 404.1545(b).                   The ALJ then

must match the claimant’s exertional abilities to an appropriate

level of work (i.e., sedentary, light, medium, heavy, or very

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heavy).    See 20 C.F.R. § 404.1567.           Any non-exertional limitations

may further restrict a claimant’s ability to perform jobs within an

exertional level.       See 20 C.F.R. § 404.1569a(c).

     “The    RFC    assessment    must       include    a   narrative        discussion

describing    how    the    evidence    supports       each    conclusion,        citing

specific medical facts (e.g., laboratory findings) and nonmedical

evidence (e.g., daily activities, observations). . . .                        The [ALJ]

must also explain how any material inconsistencies or ambiguities

in the evidence in the case record were considered and resolved,”

and “[i]f the ALJ’s RFC assessment conflicts with an opinion from

a medical source, the [ALJ] must explain why the opinion was not

adopted.”      Social      Security    Ruling    96-8p,       Titles   II     and   XVI:

Assessing Residual Functional Capacity in Initial Claims, 1996 WL

374184, at *7 (July 2, 1996) (“SSR 96-8p”) (emphasis added).

Although the ALJ need not discuss every piece of evidence in making

an RFC determination, see Reid v. Commissioner of Soc. Sec., 769

F.3d 861, 865 (4th Cir. 2014), he or she “must both identify

evidence that       supports    his    [or    her]     conclusion      and    build    an

accurate     and    logical    bridge    from        that     evidence       to   [that]

conclusion,” Woods v. Berryhill, 888 F.3d 686, 694 (4th Cir. 2018)

(internal emphasis, quotation marks, and brackets omitted).                         Here,

the ALJ’s decision supplies the necessary “accurate and logical

bridge,”    id.    (internal    quotation       marks    omitted),       between      his

crediting of Dr. Hunt’s opinion (see Tr. 20) that Plaintiff “could


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have moderate to marked difficulty tolerating the stress associated

with day-to-day    work      activity”    (Tr.   956)   and   the   absence   of

allowances for off-task time and/or work absences in the RFC

assessment (see Tr. 16).

     Following a consultative psychological examination on August

25, 2022, Dr. Hunt provided the following opinions regarding

Plaintiff’s mental functioning:

     [Plaintiff] appears to have the intellectual capacity to
     perform [SRRTs] as well as understand, retain, and follow
     instructions based on his presentation and mental status
     response.    Psychiatric symptoms could cause moderate
     complications for all the aforementioned.       Sustained
     performance of the previous is uncertain given his
     physical   complaints.       He   demonstrated   adequate
     interpersonal behavior yet could have mild to moderate
     difficulty interacting effectively with peers, coworkers,
     and supervisors due to complications from mood and
     diminished stress tolerance. He demonstrated adequate to
     marginal concentration, persistence, and pace based on
     his mental status response. He could have moderate to
     marked difficulty tolerating the stress associated with
     day-to-day work activity due to the depletion of coping
     resources related to chronic pain and illness as well as
     mental health concerns. Based on his history, he appears
     capable of conforming to social standards and complying
     with rules and regulations, as well as[] cooperating with
     authority figures. His prognosis is guarded given his
     medical condition. . . . [Plaintiff] appears capable to
     manage funds based on his overall cognitive abilities and
     mental status.

(Tr. 956-57 (emphasis added).)

     The ALJ, in turn, analyzed Dr. Hunt’s opinions as follows:

     The   medical   opinion   of   [Dr.]   Hunt   []   is
     persuasive. . . . [Dr. Hunt] understood [Plaintiff]’s
     impairments because [Dr. Hunt] actually examined
     [Plaintiff].  Further, the objective medical evidence
     supports the opinion.    In addition, the opinion is


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         consistent with evidence from other medical or nonmedical
         sources. Accordingly, this opinion is persuasive.

(Tr.      20    (emphasis         added)      (internal      parenthetical      citation

omitted).)

         Most significantly, Plaintiff provides no support for his

assertion that “[i]t is reasonable to expect an individual with

‘moderate to marked difficulty tolerating the stress associated

with day-to-day work activity’ would be off task more than ten

percent of the day outside of standard breaks and/or would be

absent from work, be late to work, or depart early from work more

than one time per month.”                (Docket Entry 9 at 10 (emphasis added)

(quoting Tr. 956).)               That assertion glosses over the fact that,

according       to    the    applicable       regulations,       a   moderate-to-marked

limitation falls between a “fair” ability and a “seriously limited”

ability to tolerate stress, see 20 C.F.R. Pt. 404, Subpt. P, App’x

1,   §    12.00F.2,         and   does     not    reflect    a   disabling      level   of

limitation,          see    Uplinger     v.   Berryhill,      No.    18CV481,    2019   WL

4673437, at *7 (W.D.N.Y. Sept. 25, 2019) (unpublished) (“Marked

limitations in mental functioning, including a marked limitation in

ability        to    deal    with   stress,       do   not   mandate     a   finding    of

disability, but can be addressed with additional limitations to a

plaintiff’s RFC, such as limiting plaintiff to [SRRTs] in a work

environment free of fast-paced production requirements.”); Miller

v. Berryhill, No. 16CV6467, 2017 WL 4173357 (W.D.N.Y. Sept. 20,

2017) (unpublished) (“[O]pinions assigning ‘marked’ limitations in

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various work-related functions do not conclusively demonstrate that

a claimant is unable to work.”).

      That argument also ignores the salient fact that Dr. Hunt,

notwithstanding his opinion that Plaintiff “could have moderate to

marked     difficulty”      with     stress      tolerance    (Tr.        956    (emphasis

added)),     ultimately         believed     Plaintiff       remained       capable     of

performing SRRTs (see id.).                See Lewen v. Commissioner of Soc.

Sec., 605 F. App’x 967, 968-69 (11th Cir. 2015) (per curiam)

(“[T]here is no indication that the doctors, by opining that [the

plaintiff] might have difficulties dealing with stress, . . . meant

that these limitations would limit her ability to work a full work

day/week. These doctors opined that, despite these limitations,

[the plaintiff] could perform simple routine tasks.”); Shirback v.

Commissioner of Soc. Sec., No. 18CV01222, 2020 WL 247304, at *4

(W.D.N.Y. Jan. 16, 2020) (unpublished) (deeming “RFC for simple

routine     work    []    not    inherently      inconsistent        with       [moderate]

limitations        in     the      plaintiff’s       ability         to     deal      with

stress, . . . particularly where the source who provided such

limitations        ultimately      opined     the    plaintiff       is     capable     of

performing [SRRTs]”).

      Moreover, Plaintiff’s own statements and the opinion evidence

do   not   support       disabling    off-task      and/or    absence       limitations

arising out of his difficulty handling stress.                  Although Plaintiff

told Dr. Hunt that stress triggered his panic attacks, he also


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stated that his last panic attack occurred in September 2021,

nearly a year prior to Dr. Hunt’s examination.                         (See Tr. 954.)

Further, at the hearing, Plaintiff did not cite an inability to

tolerate stress as a reason one of his prior jobs ended.                         (See Tr.

44 (citing inability to climb multiple flights of stairs and use

vacuums and leaf blowers on stairs as reason property maintenance

job ended),     46-47     (indicating    “forgetting           .   . .     things”      and

“trouble walking” led to landscaping job loss).)                          Additionally,

neither the state agency psychological consultants nor Dr. Hunt

opined that Plaintiff’s difficulty tolerating stress would cause

him   to   experience     work-preclusive         off-task         time    and/or      work

absences.    (See Tr. 102-04, 113, 118-19, 956-57.)

      Indeed, the ALJ found Plaintiff only moderately limited in his

ability to concentrate, persist, and maintain pace (see Tr. 15),

and expressly found in the RFC that Plaintiff “w[ould] be able to

maintain     concentration[,]      persistence           and       pace    for     2-hour

increments” (Tr. 16 (emphasis added)), a finding Plaintiff did not

challenge    (see   Docket     Entries       9,   12).         Under      such    factual

circumstances, Plaintiff’s assertion that a moderate-to-marked

difficulty tolerating work stress would cause work preclusive off-

task time and/or work absences amounts to sheer conjecture.                             See

Latisha G. v. O’Malley, No. 1:22CV793, 2024 WL 1142651, at *6

(M.D.N.C.    Mar.   15,    2024)   (unpublished)          (Peake,         M.J.)    (“[The

p]laintiff, who bears the burden of proving disability, presents no


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evidence, other than her own testimony, that her headaches would

cause any specific work limitations. . . .                     [T]he ALJ was not

required to include further restrictions regarding . . . time off

task        given       the      lack        of        support        for      such

limitations . . . .           Similarly, [the p]laintiff’s argument that

migraines would cause her to miss two or more days of work per

month, and therefore would be disabling, amounts to nothing more

than conjecture.    In fact, [the p]laintiff herself never testified

that she would require such a restriction.               Moreover, none of [the

p]laintiff’s providers or other medical sources opined that [the

p]laintiff’s headaches [would] cause[ work absences] during the

time period in question.”).

       In   addition,    Plaintiff      fails     to   explain     why   the   ALJ’s

inclusion of significant mental limitations in the RFC, i.e.,

SRRTs, no “fast-paced production environment[s],” “simple work-

related instructions and decisions,” “relatively few workplace

changes,” and “no more than occasional interaction with co-workers

and members of the general public” (Tr. 16), did not adequately

account for Plaintiff’s moderate-to-marked difficulty with stress

tolerance. Notably, numerous courts have found similar limitations

sufficiently accounted for moderate (or greater) difficulties with

stress tolerance.       See Lewen, 605 F. App’x at 968 (“[A]ny need to

limit [the plaintiff]’s ability to . . . deal with stress . . . —

opinions that [the plaintiff] argues are omitted from the ALJ’s


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decision — is accounted for by the ALJ limiting [the plaintiff] to

simple tasks and unskilled work with little interaction with the

public and supervisors.”); Hill v. Commissioner of Soc. Sec., No.

18CV1161,   2020   WL   836386,   at    *4-5      (W.D.N.Y.       Feb.   20,   2020)

(unpublished) (finding that RFC limitations to “[SRRTs], [] simple

work-related decisions, and [] only occasional interaction with

coworkers and the public . . . adequately accounted for [the

plaintiff]’s   moderate      to   marked         stress-related      limitations”

(emphasis added)); Alexandrea R. R. v. Berryhill, No. 18CV121, 2019

WL 2269854, at *5-7 (N.D.N.Y. May 28, 2019) (unpublished) (holding

that ALJ accounted for “moderate to marked limitation in the

ability to . . . appropriately deal with stress . . . by assessing

a number of limitations in [the plaintiff]’s ability to perform

work-related mental tasks, and by including a number of specific

restrictions in recognition of [the] plaintiff’s ability to handle

work-related stressors,” including “simple decisions” and “little

change in daily routine, work duties or processes” (emphasis

added)); Moxham v. Commissioner, No. 16CV1170, 2018 WL 1175210, *9

(N.D.N.Y. Mar. 5, 2018) (unpublished) (holding that the plaintiff

“fail[ed] to illustrate how the mental limitations included in the

ALJ’s RFC (simple tasks, simple instructions, frequent interaction

with supervisors, coworkers, and the public, and decisions on

simple work-related matters) d[id] not adequately account” for

“moderate-to-marked     limitations         in   appropriately      dealing       with


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stress” (emphasis added)); Messerli v. Berryhill, No. 1:16CV800,

2017 WL 3782986, at *9-11 (E.D. Cal. Aug. 31, 2017) (unpublished)

(finding that, even if ALJ had “wholly credited” consultative

psychological examiner’s opinion that the plaintiff’s “ability to

deal with the usual stress encountered in a competitive workplace

is moderately to seriously impaired,” the RFC’s limitation to

simple, repetitive tasks “would not be disturbed resulting in the

same conclusion of non-disability”).

       Furthermore,      although,      as     discussed      above,       Plaintiff’s

testimony and other statements did not identify any work-related

stress triggers (see Tr. 44 (citing inability to climb multiple

flights of stairs and use vacuums and leaf blowers on stairs as

reason      property     maintenance       job     ended),     46-47       (indicating

“forgetting . . . things” and “trouble walking” led to landscaping

job    loss)),   Dr.     Hunt    linked      Plaintiff’s      “mild       to    moderate

difficulty     interacting       effectively       with    peers,   coworkers,        and

supervisors,” in part, to “diminished stress tolerance” (Tr. 956

(emphasis added)).         Thus, the ALJ’s limitation to “no more than

occasional interaction with co-workers and members of the general

public” (Tr. 16) specifically accounts for Dr. Hunt’s stress-

related opinion, see Gomez v. Saul, No. 19CV9278, 2020 WL 8620075,

at    *30   (S.D.N.Y.     Dec.    23,     2020)     (unpublished)         (“‘[A]n     RFC

determination      may      adequately           account      for     a        claimant’s

stress-related         limitations’     by       precluding     triggers         of   the


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plaintiff’s stress that are apparent from the record, ‘even without

explicitly referencing a stress limitation.’” (quoting Herb v.

Commissioner of Soc. Sec., 366 F. Supp. 3d 441, 447 (W.D.N.Y.

2019))), recommendation adopted sub nom. Gomez v. Commissioner of

Soc. Sec., 2021 WL 706744 (S.D.N.Y. Feb. 22, 2021) (unpublished).

     The above discussion also demonstrates why Chalk does not aid

Plaintiff’s cause.      In Chalk, the Court held that, “[d]espite

finding persuasive [the consultative psychological examiner]’s

opinion that [the p]laintiff could sustain attention to perform

simple repetitive tasks, the ALJ neither included a limitation to

simple repetitive tasks in the RFC, nor explained why he omitted

such a restriction,” and deemed that error prejudicial, because

“th[e] Court c[ould ]not determine whether the jobs cited by the VE

could accommodate a limitation to simple repetitive tasks.” Chalk,

2021 WL 5014261, at *5 (emphasis added) (internal quotation marks

and parenthetical citations omitted).       Thus, in Chalk, the ALJ had

specifically credited the limitation the plaintiff argued the RFC

lacked, i.e., simple repetitive tasks.           See id.       In contrast,

Plaintiff contends the ALJ here should have included in the RFC

limitations to work-preclusive off-task time and/or work absences

– limitations neither inherently implied by a moderate-to-marked

stress-tolerance   limitation    nor    supported    by     Plaintiff’s      own

statements or the opinion evidence.

     In sum, Plaintiff’s first assignment of error falls short.


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            2. Evaluation of Plaintiff’s Daily Activities8

a.      Qualifications on Daily Activities

      Plaintiff’s second issue on review contends that “[t]he ALJ

erred by citing Plaintiff’s performance of [activities of daily

living] as a reason to discount Plaintiff’s impairment severity

without accounting for countervailing evidence regarding the nature

and extent of the activities.”           (Docket Entry 9 at 12 (bold font

and block formatting omitted); see also Docket Entry 12 at 3-5.)

More specifically, Plaintiff argues that “the ALJ erred by [1)]

ignoring or minimizing qualifying information regarding the nature

and   extent     of   Plaintiff’s   [daily      activities]      and   using     that

inaccurate summary to conclude Plaintiff’s [daily activities] were

inconsistent with his claim for disability” (Docket Entry 9 at 16

(citing    Tr.    15-20);   see   also    id.    at   12   (quoting    Arakas     v.

Commissioner, Soc. Sec. Admin., 983 F.3d 83, 99 (4th Cir. 2020),

for proposition that “‘[a]n ALJ may not consider the type of

activities a claimant can perform without also considering the

extent to which she can perform them’” (italics added to match

Arakas)), and 2) by “fail[ing] to address Plaintiff’s brother’s

function report at all, drawing into question whether the ALJ

reviewed or was aware of Plaintiff’s brother’s statements” (id. at

16 (citing Tr. 7-22, and referencing Tr. 243-50)).

      8
        As Plaintiff’s second and third issues on review both concern the ALJ’s
evaluation of Plaintiff’s ability to engage in daily activities (see Docket Entry
9 at 12-20; see also Docket Entry 12 at 3-6), the Court will address them
together.

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       As part of those arguments, Plaintiff faults the ALJ for

“describ[ing] Plaintiff as being capable of a ‘wide range of

ordinary tasks,’” and asserts that “[he] is capable of neither a

‘wide range’ of tasks nor are the tasks he performs ‘ordinary.’”

(Id.    at   16    (quoting     Tr.    19-20).)        In    particular,    Plaintiff

maintains that, “[w]hile the ALJ noted Plaintiff performed chores

with breaks, the ALJ failed to note Plaintiff required reminders

and encouragement to perform his [daily activities], required

assistance managing his finances, sometimes had to stop shopping

due to his symptoms and return home without the items he needed,

and did not complete his chores up to the standards of the brother

with whom he lived.”             (Id. (citing Tr. 15, 60, 62, 245-47).)

Plaintiff further points out that his “brother reported Plaintiff’s

performance of daily activities was limited by his propensity to

stare at the walls when depressed.”               (Id. (citing Tr. 244, 247).)

       The ALJ noted that Plaintiff “socialize[d] through occasional

church attendance” and “ha[d] friends that visit[ed] occasionally”

in   support      of    the   ALJ’s     finding   of    moderate      limitation      in

Plaintiff’s ability to interact with others at steps two and three

of the SEP, and further noted that Plaintiff “perform[ed] personal

care    activities”       and   “[h]ousehold      chores         includ[ing]     dishes,

laundry,     and       vacuuming      with    breaks”       to   support   the    ALJ’s

determination that Plaintiff had mild limitation in his ability to

adapt and manage himself.              (Tr. 15 (emphasis added).)              The ALJ


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thereafter found that “[p]erformance of th[at] wide range of

ordinary tasks [wa]s inconsistent with moderate limitations and

cast[ed] doubt on th[e] opinion [of the reconsideration-level state

agency psychological consultant]” (Tr. 19), and “on th[e] opinion

[of consultative medical examiner Salematou Diallo, CNP (‘CNP

Diallo’)]” (Tr. 20).

     The ALJ’s citation of Plaintiff’s ability to attend church and

socialize occasionally, perform personal care, and complete chores

with breaks (see Tr. 15) certainly described “ordinary tasks” (Tr.

19-20), although reasonable minds could differ on whether those

activities   amounted        to     a   “wide    range”     of    tasks    (id.).

Nevertheless, Plaintiff has not shown that the ALJ mischaracterized

or overstated Plaintiff’s ability to engage in daily activities.

Although the ALJ did not expressly discuss Plaintiff’s testimony

that, on occasion, he had to stop shopping “because [he] felt like

[he] was going to fall out” and sit in his car for “five minutes or

so before [he] even head[ed] home” (Tr. 60), the ALJ did not rely

on Plaintiff’s ability to shop at any point in the ALJ’s decision

(see Tr. 13-22).    Moreover, although the ALJ did not address the

statements of Plaintiff’s brother that Plaintiff needed reminders

and encouragement to perform his daily activities (see Tr. 245,

247), did not perform chores up to his brother’s standards (see Tr.

245), required assistance with his finances (see Tr. 247), and

watched television, listened to music, and read “when ever [sic] he


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[wa]s not depressed and starring [sic] at walls” (id.),9 the ALJ

did not cite Plaintiff’s abilities to handle his finances, watch

television, listen to music, or read as reasons supporting the

ALJ’s finding of non-disability (see Tr. 13-22), and Dr. Hunt’s

consultative examination reflects that Plaintiff “performs personal

care       activities”   and    “[h]ousehold    chores    includ[ing]     dishes,

laundry, and vacuuming with breaks” (Tr. 954), which matches

verbatim the ALJ’s description of Plaintiff’s abilities (compare

Tr. 15, with Tr. 954).          To the extent conflicts exist in the record

as to Plaintiff’s performance of daily activities, the ALJ must


       9
        The ALJ erred by failing to address the function report submitted by
Plaintiff’s brother. Plaintiff’s brother constitutes a “[n]onmedical source”
under the regulations. 20 C.F.R. § 404.1502(e)(4) (listing “[f]amily members”
as nonmedical sources). Under amended regulations (applicable to claims like
Plaintiff’s filed on or after March 27, 2017 (see Tr. 213-19)), ALJs “are not
required to articulate how [they] considered evidence from nonmedical sources
using the requirements in paragraphs (a) through (c) of [20 C.F.R. § 404.1520c,]”
20 C.F.R. § 404.1520c(d) (emphasis added), which set forth the factors, including
consistency and supportability, that ALJs must consider when evaluating the
persuasiveness of opinions from medical sources, see 20 C.F.R. § 404.1520c(a)-
(c). Plaintiff did not address Section 404.1520c(d) in his arguments (see Docket
Entries 9, 12), and the Commissioner takes the position that the ALJ’s failure
to address the function report of Plaintiff’s brother “is consistent with the
regulations, which state ‘[the ALJ is] not required to articulate how [h]e
considered evidence nonmedical sources’” (Docket Entry 11 at 14 (quoting 20
C.F.R. § 404.1520c(d))).        The Court has previously recognized that,
“[a]lthough . . . the law remains unsettled whether ALJs must provide any
articulation of their consideration of nonmedical evidence,” Alyssa W. v.
O’Malley, No. 1:22CV919, 2024 WL 416392, at *11 (M.D.N.C. Feb. 5, 2024)
(unpublished) (citing Ellen S. v. Kijakazi, No. 5:20CV1940, 2022 WL 221225, at
*7 (C.D. Cal. Jan. 24, 2022) (unpublished) (“The question of how the 2017 rule
change impacts the ALJ’s obligations with respect to addressing lay witness
testimony is unanswered in the current caselaw.”)), “the majority of cases to
address the issue have held that Section . . . 404.1520c(d)[] did not remove the
articulation requirement altogether and continues to obligate ALJs to provide
some explanation of how they considered nonmedical evidence,” id.         For the
reasons explained below, however, that error by the ALJ remains harmless, because
Plaintiff has not shown that remand for the ALJ to further consider Plaintiff’s
daily activities would result in a different outcome in his case. See generally
Fisher v. Bowen, 869 F.2d 1055, 1057 (7th Cir. 1989) (observing that “[n]o
principle of administrative law or common sense requires us to remand a case in
quest of a perfect opinion unless there is reason to believe that the remand
might lead to a different result”).

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resolve such conflicts in the evidence, see Smith v. Chater, 99

F.3d 635, 638 (4th Cir. 1996) (“The duty to resolve conflicts in

the evidence rests with the ALJ, not with a reviewing court.”), and

the ALJ did not err by opting to credit Plaintiff’s report to Dr.

Hunt reflecting a greater ability to perform those activities, see

Footman v. Kijakazi, No. 21-1116, 2023 WL 1794156, at *2 (4th Cir.

Feb. 7, 2023) (unpublished) (holding that ALJ need not “list[ ]

every single additional qualifying statement about the extent to

which [the plaintiff] can perform daily activities, [as long as]

the ALJ [ ] demonstrate[s] that []he adequately considered them and

found them to be inconsistent with specific, objective evidence in

the record”).

     Significantly, even assuming, arguendo, that the ALJ erred by

failing to accurately describe Plaintiff’s ability to engage in

daily activities (and did err by failing to address the function

report from Plaintiff’s brother), Plaintiff has not shown how those

errors prejudiced him.          See generally Fisher v. Bowen, 869 F.2d

1055, 1057 (7th Cir. 1989) (observing that “[n]o principle of

administrative law or common sense requires us to remand a case in

quest of a perfect opinion unless there is reason to believe that

the remand might lead to a different result”).               Plaintiff contends

that,   “where,      as   in   the   present   case,    an   ALJ    cites   [daily

activities]     to    ‘discount      the     impact    of    [the   plaintiff’s]

impairments on [his] ability to perform basic work activities and


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to   discount   the   credibility    of   [the   p]laintiff’s     allegations

generally[,]’ the ALJ has assigned [daily activities] a ‘pivotal

role in [the ALJ’s] RFC assessment.’” (Docket Entry 12 at 4-5

(quoting Harris v. Kijakazi, No. 1:21CV99, 2022 WL 3595192, at *4

(M.D.N.C. Aug. 23, 2022) (unpublished) (Peake, M.J.) (emphasis

added), recommendation adopted, 2022 WL 17831952 (M.D.N.C. Sept.

13, 2022) (unpublished) (Eagles, J.)).) Here, in contrast, the ALJ

relied on Plaintiff’s ability to perform daily activities as just

one of multiple factors to support the ALJ’s findings of moderate

limitation in Plaintiff’s ability to interact with others and mild

limitation in his ability to adapt/manage himself at steps two and

three of the SEP (see Tr. 15), and again as one of multiple factors

to discount the opinions of the reconsideration-level state agency

psychological consultant (see Tr. 19) and consultative medical

examiner CNP Diallo (see Tr. 20).         Plaintiff did not challenge any

of those findings by the ALJ (see Docket Entries 9, 12) and, unlike

in Harris, the ALJ here did not expressly rely on Plaintiff’s daily

activities to “discount the credibility of Plaintiff’s allegations

generally,” Harris, 2022 WL 3595192, at *4.            Harris thus does not

support remand here.

b.    Daily Activities as Evidence of Sustained Work Ability

      Plaintiff’s third issue on review argues that “[t]he ALJ erred

by failing to explain how Plaintiff’s limited performance of [daily

activities]     demonstrates    an    ability     to   perform     full-time,


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competitive employment.”          (Docket Entry 9 at 18 (bold font and

block formatting omitted); see also Docket Entry 12 at 5-6.)                     In

particular, Plaintiff asserts that “[t]he ALJ failed to explain how

occasional    church    attendance,       occasional    visits     with    friends

(friends of Plaintiff’s brother), performing personal hygiene (with

reminders and wearing comfortable clothes), watching television,

spending time with dogs, and taking breaks while doing dishes,

laundry (not anymore after having ‘messed up a bunch of clothes and

stuff’), and vacuuming (with lists and daily reminders but still

not   meeting    his   brother’s     standards)       undermines       Plaintiff’s

testimony     regarding     his    inability     to    return     to     full-time

competitive employment.”          (Docket Entry 9 at 18 (quoting Tr. 62,

and citing Tr. 15-20).)           According to Plaintiff, “the [United

States Court of Appeals for the] Fourth Circuit has noted[ that]

a[] claimant’s ability to perform his own [daily activities] does

not   provide    reliable      indicia    of   his    ability    to    engage    in

competitive employment given the lack of employer performance

standards when performing activities for oneself at one’s own

pace.”    (Id. at 19 (citing Arakas, 983 F.3d at 101).)

      That argument fails for the simple reason that the ALJ here

did not discuss Plaintiff’s ability to engage in daily activities

as evidence of functions Plaintiff could perform in sustained,

competitive employment.        Rather, as discussed above, the ALJ cited

Plaintiff’s daily activities as just one factor supporting the


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ALJ’s findings of moderate and mild limitations in two broad areas

of mental functioning (see Tr. 15) and as just one factor to

discount two medical opinions (see Tr. 19-20).                         See Ladda v.

Berryhill, 749 F. App’x 166, 173 n.4 (4th Cir. 2018) (“[The

plaintiff] claims that the ALJ erred in assessing [the plaintiff]’s

daily activities as evidence of [his] ability to work for an entire

day. However, the ALJ cited [the plaintiff]’s daily activities for

purposes of the credibility determination and not as examples of

the functions [the plaintiff] could perform for an entire day.”);

Katerina M. L. v. O’Malley, No. 1:22CV932, 2024 WL 110682, at *11

(M.D.N.C. Jan. 10, 2024) (unpublished) (“[The p]laintiff contends

that    her   ability   to      engage    in   []    daily    activities     did     not

demonstrate      that    she      could     perform       competitive       full-time

work[;] . . . however, the ALJ appropriately considered [the

p]laintiff’s daily activities ‘not as examples of the functions

[the p]laintiff could perform for an entire day’ but rather to

evaluate whether her reported symptoms were fully consistent with

the record.” (quoting Ladda, 749 F. App’x at 173 n.4) (internal

quotation marks, brackets, and parenthetical citations omitted).

       Put simply, Plaintiff’s second and third assignments of error

fail as a matter of law.




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                             III. CONCLUSION

     Plaintiff has not established an error warranting relief.

     IT IS THEREFORE ORDERED that the Commissioner’s decision

finding   no   disability    is   AFFIRMED,    and    that     this   action   is

DISMISSED with prejudice.



                                         /s/ L. Patrick Auld
                                           L. Patrick Auld
                                    United States Magistrate Judge

February 18, 2025




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